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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

LARRY SMITH,                                      Case No. 2:21-cv-12070

             Plaintiff,                           Hon. David M. Lawson

v

COUNTY OF WAYNE, ROBERT J. DONALDSON,
MONICA CHILDS, GENE KARVONEN,
ROGER MUELLER, WALTER LOVE,
KEITH CHISHOLM and JOHN DEMBINSKI,

     Defendants.
__________________________________________________________________/
 LAW OFFICE OF JARRETT ADAMS, PLLC        CUMMINGS, MCCLOREY, DAVIS &
 BY: JARRETT ADAMS                        ACHO, P.L.C.
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__________________________________________________________________/

                          NOTICE OF APPEARANCE OF COUNSEL

             PLEASE TAKE NOTICE that the law firm of CUMMINGS, McCLOREY,

DAVIS & ACHO, P.L.C., by JONATHAN D WYLIE, enters its Appearance on

behalf of Defendants Monica Childs, Gene Karvonen, Roger Mueller, Walter

Love and John Dembinski in the within cause.



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                                 s/ Jonathan D. Wylie
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Date: February 15, 2022          P84475




                          CERTIFICATE OF SERVICE

I hereby certify that on February 15, 2022, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system which will send notification of
such filing to the attorneys of record; and I hereby certify that I have mailed by
United States Postal Service the paper to the following non-ECF participants: N/A

             s/ Jonathan D. Wylie
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